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APPENDIX I
: TABQ
 

 

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REQUEST THAT THE FOLLOWING BOOK BE ADDED TO THE SCHOOL
BOARD MEETING AGENDA OF 8/2/04 IN A POSITION PRIOR TO

CONSIDERATION OF THE REGULAR BIOLOGY BOOK OF 2004 WHICH WAS
_ALSO PREVIOUSLY DISCUSSED

OF PANDA’S AND PEOPLE

(THE CENTRAL QUESTION OF BICLOGICAL ORIGINS}

BY PERCIVAL DAVIS AND DEAN KENYON
BK-PANPEOP......... 24. 55e9,

220 BOOKS TO BE USED AS A SUPPLEMENT TO THE BIOLOGY BOOK
CURRENTLY UNDER DISCUSSION. 2004 EDITION

WITH A 20% DISCOUNT AFFORDED US BY THE DISTRIBUTOR, OUR COST IS
$4391.20 PLUS SHIPPING

THE AFOREMENTIONED BOOKS, OF PANDA’S AND PEOPLE ARE TO BE
DISTRIBUTED TO THE STUDENTS AND TALIGHT FROM

AS SUPPLEMENTARY INFORMATION TO THE REGULAR BIOLOGY BOOKS
2004 EDITION WHICH WERE PREVIOUSLY DISCUSSED.

_ RESPECTFULLY SUBMITTED THIS 25™ DAY OF JULY, 2004

bb ain of,
WILLIAM L. BUCKINGHAM
DOVER AREA SCHOOL DISTRICT

SCHOGL BOARD MEMBER

000042
